Case 1:10-cr-20467-TLL-PTM ECF No. 37, PageID.138 Filed 03/01/11 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number: 10-20467-2
v.                                                          Honorable Thomas L. Ludington

ERIC ERWIN CAMPBELL,

                  Defendant.
_______________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
 DEFENDANT’S PLEA OF GUILTY AS TO COUNT THREE OF THE INDICTMENT,
    AND TAKING THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on February 10, 2011, by United States Magistrate Judge

Charles E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on

February 11, 2011, recommending that this Court accept the defendant’s plea of guilty as to count

three of the indictment. As of today’s date, no party has filed any objections to the magistrate

judge’s report and recommendation. The election to not file objections to the magistrate judge’s

report releases the Court from its duty to independently review the record. Thomas v. Arn, 474 U.S.

140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt.

#34] is ADOPTED.
Case 1:10-cr-20467-TLL-PTM ECF No. 37, PageID.139 Filed 03/01/11 Page 2 of 2




      It is further ORDERED that the defendant’s plea of guilty as to count three of the indictment

is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. #33] is taken UNDER ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge
Dated: March 1, 2011


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on March 1, 2011.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




                                                         -2-
